Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 1 of 15 PageID 1



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA


 KRYSTAL HILL, on behalf of herself
 individually and all others similarly situated,

 Plaintiffs,

 vs.                                                       Case No.:

 7500 BLIND PASS CORPORATION d/b/a
 MERMAIDS GNETLEMEN’S CLUB, a
 Florida Profit Corporation and RICHARD
 JACOBSON, individually,

 Defendants,
 _____________________________________/

                    CLASS AND COLLECTIVE ACTION COMPLAINT

        Plaintiff, KRYSTAL HILL (hereinafter “Plaintiff” or “HILL”), on behalf of herself

individually and others similarly situated, by and through the undersigned counsel brings this class

action complaint against 7500 BLIND PASS CORPORATION d/b/a MERMAIDS

GNETLEMEN’S CLUB, a Florida Profit Corporation, and RICHARD JACOBSON, individually,

(hereinafter “DEFENDANTS”) and states as follows:

                                     I.      INTRODUCTION

        1.     DEFENDANTS own and operate a strip club called Mermaids Gentlemen’s Club

in Hillsborough County, Florida.

        2.     DEFENDANTS miscategorized HILL and other entertainers/dancers who work at

their Mermaids Gentlemen’s Club as independent contractors and required them to pay to come to

work.
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 2 of 15 PageID 2



       3.      DEFENDANTS’ class-wide misclassification and unlawful pay practices result in

HILL and other entertainers/dancers making less than minimum wage, in violation of Federal and

Florida state law.

                              II.     JURISDICTION AND VENUE

       4.      Federal Jurisdiction in this matter is proper under 28 U.S.C. § 1331 under Federal

Question Jurisdiction as the claims alleged arise under the Federal Fair Labor Standards Act, 29

U.S.C. § 201, et seq. (“FLSA”).

       5.      This Court properly confers jurisdiction over interrelated Florida state law claims

arising from the same facts and events under 28 U.S.C. 1367.

       6.      Venue in the United States District Court for the Middle District of Florida under28

U.S.C. § 1391 because the events and omissions giving rise to the claims in this action occurred at

DEFENDANTS’ Mermaids Gentlemen’s Club in Hillsborough County, Florida.

       7.      Prior to bringing a claim for unpaid minimum wages, HILL notified

DEFENDANTS, in writing, of an intent to initiate such an action.

       8.      Plaintiff served notice on Defendants notifying them of her intent to file this class

action on January 6, 2020. See Exhibit A.

       9.      Following    DEFENDANTS’          receipt    of   HILL’s     pre-litigation   notice,

DEFENDANTS failed to pay HILL unpaid wages and damages sought in this action.

       10.     During the Relevant Liability Period, DEFENDANTS have been an “enterprise

engaged in commerce or the production of goods for commerce” within the meaning of the Florida

Constitution’s regulations on minimum wage.

       11.     During the relevant period, DEFENDANTS had gross revenue and sales exceeding

$500,000.00, sold beer, wine, spiritous beverages, colas, and food that passed in interstate



                                                 2
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 3 of 15 PageID 3



commerce and/or moved through commerce and otherwise qualified as an “enterprise engaged in

commerce” under the FLSA.

       12.     At all times during the relevant period, DEFENDANTS each qualified as

employers for HILL and all other entertainers/dancers at the Mermaids Gentlemen’s Club under

the FLSA and Florida state law.

       13.     At all times during the relevant period, HILL and all other entertainers/dancers at

the Mermaids Gentlemen’s Club, qualified as DEFENDANTS’ employees under the FLSA and

Florida state law.

       14.     By acting as the named plaintiff in this action, HILL affirms her consent to

participate as class representative on behalf of the below identified described class and as a plaintiff

in a collective action seeking relief under the FLSA.

                                            III.    PARTIES

       15.     HILL is an individual resident of St. Petersburg, Florida.

       16.     HILL worked as an entertainer at 7500 BLIND PASS CORPORATION d/b/a

MERMAIDS GENTLEMEN’S CLUB from November 2018 through about September 2019.

       17.     The Class Members are all of DEFENDANTS’ current and former

entertainers/dancers who worked at Mermaids at any time during the five years prior to the filing

of this Complaint up to the present.

       18.     At all times relevant to this complaint (2015-2020), 7500 BLIND PASS

CORPORATION d/b/a MERMAIDS GENTLEMEN’S CLUB, an entertainment club that engages

in the business of entertaining its patrons with nude and/or semi-nude dancing and alcohol.

       19.     At all times relevant to the action, RICHARD JACOBSON was the Director,

President and Secretary of DEFENDANTS’ Mermaids Gentlemen’s Club.



                                                   3
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 4 of 15 PageID 4



       20.      At all times relevant to this action, JACOBSON had the authority to hire/fire

individuals who worked for or at DEFENDANTS’ Mermaids Gentlemen’s Club.

       21.      On information and belief, JACOBSON participated substantially in the decision

to classify all dancers/entertainers at DEFENDANTS’ Mermaids Gentlemen’s Club as

independent contractors.

       22.      On information and belief, JACOBSON participated substantially in the decision

not to pay wages to dancers/entertainers who worked and/or performed at DEFENDANTS’

Mermaids Gentlemen’s Club.

       23.      At all times relevant to this action, JACOBSON, individually, managed and

supervised the day-to-day operations of DEFENDANTS’ Mermaids Gentlemen’s Club.

       24.      On information and belief, at all times relevant, JACOBSON was in charge of the

financial decisions of and for DEFENDANTS’ Mermaids Gentlemen’s Club.

       25.      As a result, JACOBSON, individually, qualified as an “employer” for HILL and

other dancers/entertainers at DEFENDANTS’ Mermaids Gentlemen’s Club, as the term is defined

under the FLSA and Florida Minimum wage laws.

                               IV.    FACTUAL ALLEGATIONS

       26.      At all times for five years prior to the filing of the instant complaint,

DEFENDANTS have employed entertainers/dancers at Mermaids Gentlemen’s Club.

       27.      At all times for the five years prior to the filing of the instant complaint,

DEFENDANTS have categorized all entertainers/dancers working at Mermaids as “independent

contractors.”




                                               4
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 5 of 15 PageID 5



       28.     At all times for five years prior to the filing of the instant complaint,

DEFENDANTS did not require entertainers/dancers to have any specialized training or

background.

       29.     DEFENDANTS did, however, require entertainers/dancers to dance at specified

times and in a specified manner on stage and for customers; regulated entertainers/dancers’ attire

and interactions with customers; supervised and regulated the work duties performed by

entertainers/dancers within the club; controlled and adjusted, as necessary, the internal atmosphere

operations; and financed all advertising efforts undertaken on behalf of the Mermaids Gentlemen’s

Club. HILL was subjected to and directly affected by the policies and management-related

decisions made exclusively by DEFENDANTS outlined in this paragraph.

       30.     At all times for the five years prior to the filing of the instant complaint,

DEFENDANTS required entertainers/dancers, including HILL, to pay a specific amount, often

referred to as a “house fee” or a “stage fee” in order to work on any given shift.

       31.     The specific amount entertainers/dancers, including HILL, were required to pay has

varied over the last five years, but has generally been at least $25.00 per shift.

       32.     At all times for the five years prior to the filing of the instant complaint,

DEFENDANTS implemented and carried out policies requiring entertainers/dancers, including

HILL, to pay or share a portion of the tips or gratuities they received while working or performing

at the club to DEFENDANTS’ managers or agents/assigns that were not customarily tipped

employees working or performing at the club.

       33.     The “house fee” or “stage fee” charged by DEFENDANTS constitutes an unlawful

“kickback” to the employer within the meaning of the FLSA.

       34.     HILL worked approximately eight (8) hours per shift and five (5) days per week.



                                                  5
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 6 of 15 PageID 6



       35.     DEFENDANTS have never paid HILL or any other entertainers/dancers any

amount as an hourly wage.

       36.     Instead, entertainers’ source of work-related income is gratuities they receive from

customers.

       37.     DEFENDANTS knew, or showed reckless disregard for the fact, that it

misclassified these entertainers/dancers as independent contractors, and accordingly failed to pay

these entertainers/dancers the minimum wage and failed to pay overtime at the required rate under

the FLSA.

                      V.     CLASS REPRESENTATION ALLEGATIONS

       38.     HILL re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1 through 37.

       39.     Pursuant to Federal Rule 23, HILL bring this action on behalf of herself and a class

of all other persons similarly situated and defined as follows:

               All entertainers/dancers who have worked at Mermaids between the last five
               (5) years immediately preceding the filing of this complaint through the date
               of the Order certifying this case as a class action.

       40.     This action is properly maintainable as a class action pursuant to Federal Rule 23.

       41.     This action has been brought and may properly be maintained as a class action as

it satisfies the numerosity, commonality, typicality, adequacy, and superiority requirements. HILL

seeks to represent an ascertainable class with a well-defined community of interest in the questions

of law and fact involved in this matter.

       42.     Although the precise number of class members is unknown and can only be

determined through appropriate discovery, HILL believes that the class defined in paragraph 39 is




                                                 6
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 7 of 15 PageID 7



sufficiently numerous that separate joinder of each member is impracticable as the class will be

comprised of more than 50 absent class members.

       43.     HILL’s claims raise questions of law and fact common to each member of the class,

which include, but are not limited to:

               a. whether DEFENDANTS failed to pay entertainers/dancers a direct wage at

                   least equal to Florida’s minimum wage;

               b. whether entertainers/dancers at Mermaids were misclassified as independent

                   contractors;

               c. whether entertainers/dancers at Mermaids were required to share a portion of

                   their tips with other employees, including employees who are not customarily

                   and regularly tipped employees, and with management or other agents or

                   assigns of DEFENDANTS;

               d. whether DEFENDANTS retained a portion of entertainers/dancers’ tips or

                   gratuities; and

               e. whether DEFENDANTS’ conduct is in willful violation of Article X, Section

                   24 of the Florida Constitution.

       44.     The claims asserted by the HILL in this action are typical of the claims of the

members of the putative Class, as the claims arise from the same course of conduct by the

DEFENDANTS and the relief sought is common.             All members of the class, worked as

entertainers/dancers at Mermaids, were denied the Florida minimum wage due to DEFENDANTS’

misclassification of entertainers/dancers as independent contractors, and were required to share

tips with other employees and with management.




                                                 7
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 8 of 15 PageID 8



       45.     HILL will vigorously pursue the claims alleged herein on behalf of herself

individually and other similarly situated entertainers/dancers. She has no adverse interests to the

proposed absent class members because she asserts the same claims under the same provisions of

the Florida Constitution and seeks the same relief as would the absent class members if each were

to bring a similar action individually. Further, HILL will adequately protect and represent the

interests of each absent class member. Counsel who brings this action for the HILL and the

proposed class are experienced in class action practice and procedure.

       46.     The prosecution of separate claims or defenses by or against individual dancers of

the class would create a risk of either inconsistent or varying adjudications concerning individual

members of the class which would establish incompatible standards of conduct for the party

opposing the class.

       47.     DEFENDANTS have acted or refused to act on grounds generally applicable to all

the dancers, thereby making final injunctive relief or declaratory relief concerning the class

appropriate.

       48.     Certification of the Class is appropriate pursuant to Federal Rule 23 because

questions of law or fact common to the respective members of the Class predominate over

questions of law or fact affecting only individual members. This predominance makes class

litigation superior to any other method available for the fair and efficient adjudication of these

claims including consistency of adjudications. Absent a class action it would be highly unlikely

that the members of the Class would be able to protect their own interests because the cost of

litigation through individual lawsuits might exceed the expected recovery.

       49.     Class representation is superior to other available methods for the fair and efficient

adjudication of the controversy for a number of reasons including, but not limited to, the following:



                                                 8
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 9 of 15 PageID 9



(1) the case challenges the policy of a large employer and many employees may be reluctant to

bring claims individually for fear of retaliation; (2) some class members may have only worked

for DEFENDANTS for a short period of time and their individual damages would not be

substantial enough to be worth the effort of bringing individual claims; (3) class members do not

have the resources to bring their claims individually; and (4) it will permit a large number of claims

to be resolved in a single forum simultaneously, efficiently, and without the unnecessary hardship

that would result from the prosecution of numerous individual actions and the duplication of

discovery, effort, expense, and the burden of the courts that individual actions would create.

                  V.       FLSA COLLECTIVE ACTION ALLEGATIONS

       50.     Plaintiffs re-allege and incorporate by reference herein all of the allegations

contained in paragraphs 1 through 49.

       51.     HILL brings her FLSA Count of the instant Complaint as a collective action

pursuant to 29 U.S.C. § 216(b), on behalf of herself and all similarly situated employees as follows:

       All entertainers/dancers who have worked at Mermaids between the last three
       (3) years immediately preceding the filing of this complaint through the date
       of the Order certifying this case as a collective action

       52.     Similarly situated employees, for purposes of the FLSA collective action claims,

include individuals who have worked for DEFENDANS at any time within the three (3) year

period prior to joining this lawsuit under 29 U.S.C. § 216(b), who provided exotic dancing services

to DEFENDANTS at the Mermaids Gentlemen’s Club, and performed such service while

classified by DEFENDANTS as independent contractors, and who have not been paid minimum

compensation as required by the FLSA.

       53.     As DEFENDANTS’ failure to pay HILL and other similarly situated individuals

was a direct result of DEFENDANTS’ unlawful class-wide misclassification effecting all current



                                                  9
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 10 of 15 PageID 10



and former exotic dancers at DEFENDANTS’ Mermaids Gentlemen’s Club, HILL requests that

she be permitted to serve as representative of those who consent to participate in this action, and

that this action be conditionally certified as a collective action pursuant to 29 U.S.C. § 216(b).

       VII.    COUNT I - FAILURE TO PAY MINIMUM WAGE IN VIOLATION OF
               THE FLSA

       54.     Named Paragraphs 1-53 are incorporated by reference as if fully set forth herein.

       55.     Pursuant to the FLSA, 29 U.S.C. § 206, employers must pay non-exempt employees

a minimum wage per hour for all hours worked.

       56.     At all times relevant to this action, DEFENDANTS were HILL’s employer under

the definitions set forth in the FLSA.

       57.     At all times relevant to this action, HILL was DEFENDNATS’ employee under the

definitions set forth in the FLSA.

       58.     At all times relevant to this action, DEFENDANTS failed to pay HILL minimum

wage compensation as required by the FLSA.

       59.     At all times relevant to this action, DEFENDANTS unlawfully kept and/or assigned

tips and gratuities HILL received from customers.

       60.     At all times relevant to this action, DEFENDANTS unlawfully charged HILL a

per-shift kickback of $25.00 or more per shift.

       61.     DEFENDANTS now owe HILL a return of all unlawfully deducted and/or assigned

tips and gratuities plus payment of minimum wage compensation at the free and clear rate of $7.25

per hour for all hours HILL worked, without any credit for the tips received by HILL.

       62.     On information and belief, at all times relevant to this action, DEFENDANTS had

actual knowledge that exotic dancers at the Mermaids Gentlemen’s Club were employees and were

not independent contractors under the FLSA.


                                                  10
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 11 of 15 PageID 11



       63.     On information and belief, at all times relevant to this action, DEFENDANTS had

actual knowledge that HILL and other exotic dancers at the Mermaids Gentlemen’s Club should

have been paid free and clear minimum wage compensation for all hours worked each week.

       64.     DEFENDANTS’ conduct, as alleged above, constitutes willful violations of the

FLSA within the meaning of 29 U.S.C. § 255(a), which permits the recovery of unpaid minimum

wages for up to three (3) years, rather than two (2) years.

       65.     Similarly, for the reasons stated above, DEFENDANTS cannot affirmatively

defend their failure to pay the appropriate minimum wage rate as having been done in good faith,

entitling HILL to liquidated damages in an amount equal to the amount of unpaid wages under 29

U.S.C. § 216(b).

       VII.    COUNT II - FAILURE TO PAY MINIMUM WAGE IN VIOLATION OF
               ARTICLE X, SECTION 24 OF THE FLORIDA CONSTITUTION

       66.     Paragraphs 1-49 are incorporated by reference as if fully set forth herein.

       67.     At all times relevant to this action, DEFENDANTS were HILL’s employer under

the definitions set forth in the Article X, Section 24 of the Florida Constitution.

       68.     At all times relevant to this action, HILL was DEFENDNATS’ employee under the

definitions set forth in the Article X, Section 24 of the Florida Constitution.

       69.     At all times relevant to this action, DEFENDANTS failed to pay HILL minimum

wage compensation as required by the Article X, Section 24 of the Florida Constitution.

       70.     This claim arises from DEFENDANTS’ willful violation of Article X, Section 24

of the Florida Constitution for failing to pay entertainers/dancers at Mermaids the minimum wage

required by Florida law due to DEFENDANTS’ misclassification of HILL and all other

entertainers/dancers as independent contractors and by requiring that they share their tips with

employees who do not customarily and regularly receive tips and with management. The minimum


                                                 11
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 12 of 15 PageID 12



wage requirement must be satisfied “free and clear” of any deductions or “kickbacks.” This claim

is brought on behalf of a class of similarly situated individuals pursuant to Federal Rule 23.

       71.     As a direct and proximate result of DEFENDANTS’ deliberate underpayment of

wages, HILL and other similarly situated individuals have been damaged in the loss of minimum

wages for one or more weeks of work with DEFENDANTS.

       72.     On or about January 6, 2020, HILL, through counsel, served a letter on

DEFENDANTS’ counsel demanding payment for unpaid minimum wages. See Exhibit A.

       73.     To date, DEFENDANTS have failed to make payment in accordance with the same.

                                    PRAYER FOR RELIEF

       WHEREFORE, HILL requests that this Court enter the following relief:

               a. Certification of this case as a class action pursuant to Federal Rule 23.

               b. Certification of this case as a collective action pursuant to FLSA section 216(b).

               c. Designation of HILL as representative of the class and HILL’s counsel as Class

                   Counsel.

               d. Designation of HILL as representative of the collective action and HILL’s

                   counsel as counsel for the collective.

               e. A finding that, during the Relevant Liability Period, DEFENDANTS violated

                   Article X, Section 24 of the Florida Constitution by failing to pay HILL and

                   members of the class the minimum wage as required by Florida law.

               f. A finding that, during the Relevant Liability Period, DEFENDANTS violated

                   the FLSA by failing to pay HILL and other members of the collective action

                   minimum wage compensation as required by the FLSA.




                                                12
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 13 of 15 PageID 13



            g. A finding that, during the Relevant Liability Period, DEFENDANTS acted

               willfully in violating Article X, Section 24 of the Florida Constitution by failing

               to pay HILL and members of the class the minimum wage required by Florida

               law.

            h. A finding that, during the Relevant Liability Period, DEFENDANTS acted

               willfully in violating the FLSA by failing to pay HILL and other members of

               the collective action minimum wage compensation as required by the FLSA.

            i. A finding that the statute of limitations under Article X, Section 24 of the

               Florida Constitution for HILL and members of the class is five years because

               of the DEFENDANTS’ willful violation of Article X, Section 24 of the Florida

               Constitution.

            j. A finding that the statute of limitations under the FLSA for HILL and members

               of the collective action is three (3) years because of DEFENDANTS’ willful

               violation of the FLSA.

            k. An award to HILL and members of the class of a return of unlawfully deducted

               and assigned tips and payment of free and clear unpaid minimum wages during

               the Relevant Liability Period under Article X, Section 24 of the Florida

               Constitution.

            l. An award to HILL and members of the collective action of a return of

               unlawfully deducted and assigned tips and payment of free and clear unpaid

               minimum wages during the Relevant Liability Period under the FLSA.

            m. An award to HILL and members of the class of liquidated damages equal to the

               unlawfully deducted tips and free and clear unpaid minimum wages under the



                                             13
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 14 of 15 PageID 14



                 Article X, Section 24 of the Florida Constitution or, if liquidated damages are

                 not awarded, then prejudgment interest.

             n. An award to HILL and members of the collective action of liquidated damages

                 equal to the unlawfully deducted tips and free and clear unpaid minimum wages

                 under the FLSA or, if liquidated damages are not awarded, then prejudgment

                 interest.

             o. An award to HILL and members of the class of reasonable attorneys’ fees and

                 costs; and

             p. An award of such other and further relief as this Court may deem appropriate.

      Dated this 5th day of February 2020.

                                                  Respectfully submitted,

                                                  s/ Carlos V. Leach__
                                                  Carlos V. Leach, Esq.
                                                  Florida Bar No: 0540021
                                                  Louis Montone, Esq.
                                                  Florida Bar No.: 0112096
                                                  THE LEACH FIRM, P.A.
                                                  631 S. Orlando Avenue Suite 300
                                                  Winter Park, FL 32789
                                                  Telephone: (407) 574-4999
                                                  Facsimile: (833) 423-5864
                                                  Email: cleach@theleachfirm.com
                                                  Email: lmontone@theleachfirm.com
                                                  Email: yhernandez@theleachfirm.com

                                                  Gregg C. Greenberg, Esq.
                                                  (to be admitted Pro Hac Vice)
                                                  ZIPIN, AMSTER & GREENBERG, LLC
                                                  8757 Georgia Avenue, Suite 400
                                                  Silver Spring, Maryland 20910
                                                  Telephone: (301) 587-9373
                                                  Facsimile: (240) 839-9142
                                                  Email: ggreenberg@zagfirm.com

                                                  Attorneys for Plaintiffs


                                             14
Case 8:20-cv-00276-VMC-TGW Document 1 Filed 02/05/20 Page 15 of 15 PageID 15




                                     15
